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                       EXHIBIT 2
             FILED UNDER SEAL
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                                        Exhibit 2
                            Excerpts of Deposition Testimony



          Deponent            Relevant Chats-Related Testimony (objections omitted)

              (Ex. 23)
  at Tr. 35:6-36:8




               05.02.2024
  (Ex. 20) (Dep. Tr.
  Excerpts) at
  232:12-232:25




        ,      04.05.2024
  (Ex. 20) (Dep. Tr.
  Excerpts) at
  249:6-249:13
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               04.05.2024
  (Ex. 20) (Dep. Tr.
  Excerpts) at 255:2-255:9




               04.05.2024
  (Ex. 20) (Dep. Tr.
  Excerpts) at
  255:13-255:23




               04.05.2024
  (Ex. 20) (Dep. Tr.
  Excerpts) at
  281:24-282:10



               04.05.2024
  (Ex. 20) (Dep. Tr.
  Excerpts) at
  291:18-292:8




               04.05.2024
  (Ex. 20) (Dep. Tr.
  Excerpts) at
  297:25-298:10
                                                         ?
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               04.05.2024
  (Ex. 20) (Dep. Tr.
  Excerpts) at
  331:3-331:15




                (Ex. 21)
  (Dep. Tr. Excerpts) at
  311:11-311:23




                (Ex. 29)
  (Dep. Tr. Excerpts) at
  372:20-373:24




                            BY ATTORNEY CHANG:
                            Q. So you always leave your Chat history on?
                            A. I'm sure there have been some instances, I can't remember
                            the specific times, when I've turned it off over my 13 years at
                            Google. But almost ubiquitously I make a point to leave it on,
                            because it's just easier for me to work with my colleagues in that
                            way and search for things.
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                (Ex. 29)   Q. Are there any conversations that you have via Chat that do not
  (Dep. Tr. Excerpts) at   show up in your e-mail?
  375:8-375:17             ATTORNEY PEARL: Objection. Form.
                           THE WITNESS: Possibly. I can't tell you for sure. I would be
                           surprised if the topics in the Chat were not reflected in the
                           e-mail.

                (Ex. 29)
  (Dep. Tr. Excerpts) at
  383:1-384:11

                           ATTORNEY CHANG: Mr. Wolfe, will you take that document
                           down? Thank you.
                           BY ATTORNEY CHANG:
                           Q. Has a Google employee ever asked to move a Chat
                           conversation offline?
                           ATTORNEY PEARL: Objection. Form.
                           THE WITNESS: I've certainly had times when I was in a Chat
                           with another Google employee where they may have suggested
                           we meet in person to discuss something, if that is your question.
                           Is that what you mean by “offline"?
                           BY ATTORNEY CHANG:
                           Q. Have you ever asked to take a conversation on Chat offline?
                           A. Sorry. I just want to clarify. By "offline," do you mean have
                           the conversation in person?
                           Q. Yes.
                           A. Quite possibly. I don't remember a specific time. But I would
                           not be surprised if at some point I said, hey, do you want to meet
                           in the micro kitchen and talk about this?

               (Ex. 30)    Q. And when you chat, is your history on?
  (Dep. Tr. Excerpts) at   MR. PEARL: Objection.
  48:7-49:11               THE WITNESS: Yes. Yes.
                           QUESTIONS BY MS. MADARAS:
                           Q. Have you ever turned your history off?
                           MR. PEARL: Objection. Scope.
                           THE WITNESS: I don't think so.
                           QUESTIONS BY MS. MADARAS:
                           Q. Have you ever been instructed to turn your history off?
                           A. No.
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                            MR. PEARL: Objection. Scope.
                            QUESTIONS BY MS. MADARAS:
                            Q. Have you ever deleted chats?
                            A. I don't believe so.
                            MR. PEARL: Objection. Scope.
                            QUESTIONS BY MS. MADARAS:
                            Q. Have you ever been instructed to delete chats?
                            MR. PEARL: Objection. Scope.
                            THE WITNESS: No.
                            QUESTIONS BY MS. MADARAS:
                            Q. Have you ever been instructed to take a conversation off of
                            e-mail and into chats?
                            MR. PEARL: Objection. Scope.
                            THE WITNESS: No.

               (Ex. 30)                                                        ?
  (Dep. Tr. Excerpts) at    MR. PEARL: Objection. Scope.
  52:2-52:14                                .
                            QUESTIONS BY MS. MADARAS:

                            MR. PEARL: Objection. Scope.




               (Ex. 30)     QUESTIONS BY MS. MADARAS:
  (Dep. Tr. Excerpts) at    Q. Might your chats have been on history off mode when you
  56:9-56:13                sent those chats?
                            MR. PEARL: Objection. Scope.
                            THE WITNESS: I don't think so.

           (Ex. 31) (Dep.
  Tr. Excerpts) at
  307:16-308:13
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  (Ex. 32) (Dep. Tr.
  Excerpts) at 74:18-75:11




  (Ex. 32) (Dep. Tr.
  Excerpts) at
  124:17-124:23




  (Ex. 32) (Dep. Tr.
  Excerpts) at
  128:9-128:19
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                  (Ex. 33)
  (Dep. Tr. Excerpts) at
  186:4-188:3
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                  (Ex. 33)
  (Dep. Tr. Excerpts) at
  189:14-189:23




                  (Ex. 33)
  (Dep. Tr. Excerpts) at
  190:8-190:17




                  (Ex. 33)
  (Dep. Tr. Excerpts) at
  191:5-191:11




               (Ex. 34)
  (Dep. Tr. Excerpts) at
  307:4-308:9
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                (Ex. 34)
   (Dep. Tr. Excerpts) at
   309:9-310:25
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                            Q. Did you use Google Chat?
   (Ex. 22) (Dep. Tr.       A. I don't remember, probably some. I don't – I really don't
   Excerpts) at             remember.
   239:23-240:4             Q. You don't remember using Google Chat to chat teammates
                            or others in Google?
                            A. I think we were mostly e-mail heavy, but maybe there was
                            chat, too. I don't remember.

                 (Ex. 35)
   (Dep. Tr. Excerpts) at
   306:11-307:8




                 (Ex. 35)
   (Dep. Tr. Excerpts) at
   321:22-322:8
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                      (Ex.
   36) (Dep. Tr. Excerpts) at
   75:18-75:22


                     (Ex.
   37) (Dep. Tr. Excerpts) at
   308:21-309:11




                     (Ex.     Q.               , what is your understanding that the litigation
   37) (Dep. Tr. Excerpts) at hold you received in this case covers?
   363:6-364:10               A. You know, in general the e-mail came from product counsel.
                              And high-level, high understanding,
                                                   r. And, in general, the feedback that I received
                              was not to delete documents or
                              e-mails from that time period.
                              Q. How about chats?
                              A. Yes, I believe the feedback, you know, was, general, not to
                              delete any information that I have in any form that could pertain
                              to my time on Google Ad Manager.
                              Q. And before you received this
                              litigation hold, you had no understanding
                              that you weren't supposed to delete information or documents
                              from that time
                              period, then, right?
                              A. That's correct. No one had explicitly told me not to.
                              Q. Did anyone implicitly tell you?
                              A. No. And, you know, in general, you know, I -- I preserve all
                              my documents. I don't go through and delete them.

                 (Ex. 38)
   (Dep. Tr. Excerpts) at
   89:15-90:2                   MR. HUNSBERGER: Object to the form.
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                  Ex. 38)
   (Dep. Tr. Excerpts) at
   93:17-94:4               MR. HUNSBERGER: Object to the form.




                 (Ex. 38)
   (Dep. Tr. Excerpts) at
   115:2-115:7
                            MR. HUNSBERGER: Object to the form.


                 (Ex. 38)
   (Dep. Tr. Excerpts) at
   124:3-124:6
